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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION
                                 www.flsb.uscourts.gov

In re:                                                                            Chapter 13
                                                                     Case No.: 17-19326-JKO
PEDRO GABRIEL HERNANDEZ,

      Debtor.
_______________________________/

               BSI FINANCIAL SERVICES, AS SERVICING AGENT FOR
         HMC ASSETS, LLC SOLELY IN ITS CAPACITY AS SEPARATE TRUSTEE
         OF CAM XIV TRUST’S MOTION TO CONFIRM NO STAY IS IN EFFECT

              NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

          Any interested party who fails to file and service a written response to this
          motion within 14 days after the date of service stated in this motion shall,
          pursuant to Local Rule 4001-1(C), be deemed to have consented to the entry
          of an order granting the relief requested in the motion.


         Secured Creditor, BSI FINANCIAL SERVICES, AS SERVICING AGENT FOR

HMC ASSETS, LLC SOLELY IN ITS CAPACITY AS SEPARATE TRUSTEE OF CAM

XIV TRUST (“Secured Creditor”), by and through its undersigned counsel, files its Motion to

Confirm No Stay is in Effect (the “Motion”), pursuant to 11 U.S.C. 362(j) and Federal Rules of

Bankruptcy Procedure 4001, and seeks that the Court enter an order confirming that no stay is in

effect, and as grounds thereto states as follows:

         1.     On July 25, 2017, the Debtor, Pedro Gabriel Hernandez, filed a Voluntary Petition

under Chapter 13 of the United States Bankruptcy Code [D.E. 1] (the “Petition”).

         2.     On May 2, 2018, Secured Creditor filed its Motion to Vacate Mortgage

Modification Mediation Order [D.E. 40].

         3.     On June 6, 2018, the Court entered the Order Granting Motion to Vacate

Mortgage Modification Mediation Order [D.E. 43] the “Order Vacating MMM Order”).
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       4.      Pursuant to the Order Vacating MMM Order, the Debtor was directed to file a

modified plan to either surrender the subject property or “cure and maintain” its obligations to

Secured Creditor within fourteen (14) days from the entry of the Order and as such, the deadline

was June 20, 2018.

       5.      Secured Creditor asserts that the deadline for the Debtor to file a modified plan

has lapsed and, as of the date of filing of this Motion and forty (40) days after the entry of Order

Vacating MMM Order, the Debtor still has not filed a modified plan and as such has failed to

comply with this Court’s Order.

       6.      Secured Creditor files this Motion seeking an Order (i) confirming that the

automatic stay is not in effect as to the real property in Broward County, Florida, commonly

described as 4951 S.W. 128th Terrace, Miramar, FL 33027, to allow Secured Creditor to proceed

with in rem remedies in State Court to enforce its lien rights pursuant to the Note and Mortgage.

       7.      The legal description of the Property is described as follows:

       LOT 1, BLOCK F OF REPLAT OF PORTION OF M.P.H., ACCORDING
       TO THE PLAT THEREOF AS RECORDED IN PLAT BOOK 162, PAGE 4,
       OF THE PUBLIC RECORDS OF BROWARD COUNTY, FLORIDA.

       8.      Secured Creditor request that the Order contain language to reflect that the Order

will survive any subsequent conversion of the instant case to another chapter under the

Bankruptcy Code.

       9.      Secured Creditor seeks that the Court waive the fourteen (14) day stay of the

Order granting relief pursuant to Bankruptcy Rule 4001 (a)(3).

       10.     Secured Creditor asserts that it will continue to suffer irreparable injury if it is not

granted relief from automatic stay to proceed against the collateral Property.
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          11.    Secured Creditor asserts that is has incurred additional attorney’s fees and costs

for the prosecution of this Motion.

          12.    A proposed Order is attached hereto as Exhibit “A”.

          WHEREFORE, Secured Creditor respectfully requests that this Honorable Court enter

an Order granting the Motion and confirming that no stay is in effect so as to allow Secured

Creditor to proceed with in rem remedies in State Court to enforce its lien rights pursuant to the

Note and Mortgage, waiving the fourteen (14) day stay of the Order granting relief pursuant to

Bankruptcy Rule 4001 (a)(3) and grant such other further relief that the Court deems just and

proper.

Dated this 16th day of July, 2018.

                                                GHIDOTTI ǀ BERGER, LLP
                                                Attorneys for Secured Creditor
                                                3050 Biscayne Blvd. - Suite 402
                                                Miami, Florida 33137
                                                Telephone: 305.501.2808
                                                Facsimile: 954.780.5578

                                                By:    /s/ Chase A. Berger
                                                       Chase A. Berger, Esq.
                                                       Florida Bar No. 083794
                                                       cberger@ghidottiberger.com



                 CERTIFICATE PURSUANT TO LOCAL RULE 9011-4(B)(1)

          I certify that I am admitted to the Bar of the United States District Court for the Southern

District of Florida and I am in compliance with the additional qualifications to practice in this

court as set forth in Local Rule 2090-1(A).


                                                By:     /s/ Chase A. Berger
                                                            Chase A. Berger, Esq.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 16, 2018, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF.

       I also certify that the foregoing document is being served this day, either via transmission

of Notice of Electronic Filing generated by CM/ECF or by first class U.S. Mail, upon:



           Debtor                               Debtor’s Counsel
           Pedro Gabriel Hernandez              Alberto Carrero, Esq.
           4951 S.W. 128th Terrace              169 E Flagler Street, Suite 1530
           Hollywood, FL 33027                  Miami, FL 33131


           Trustee                              U.S. Trustee
           Robin R Weiner                       Office of the US Trustee
           P.O. Box 559007                      51 S.W. 1st Avenue, Suite 1204
           Fort Lauderdale, FL 33355            Miami, FL 33130



                                     By:     /s/ Chase A. Berger
                                                 Chase A. Berger, Esq.
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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION
                                www.flsb.uscourts.gov
In re:                                                                          Chapter 13
                                                                   Case No.: 17-19326-JKO
PEDRO GABRIEL HERNANDEZ,

      Debtor.
_______________________________/

        ORDER GRANTING BSI FINANCIAL SERVICES, AS SERVICING
   AGENT FOR HMC ASSETS, LLC, SOLELY IN ITS CAPACITY AS SEPARATE
   TRUSTEE OF CAM TRUST’S MOTION TO CONFIRM NO STAY IS IN EFFECT

         THIS MATTER came before the Court upon BSI Financial Services, as Servicing Agent

for HMC Assets, LLC, solely in its capacity as Separate Trustee of CAM XIV Trust’s (the

“Movant”) Motion to Confirm No Stay is in Effect, filed on July 16, 2018 [D.E. __] (the

“Motion”), and Movant by submitting this form of order represents that the Motion was served

on all parties as required by Local Rule 4001-1, that the 14-day response time provided by that

rule has expired, that no one has filed, or served on the Movant, a response to the Motion, and

that the relief to be granted in this order is the identical relief requested in the Motion. Upon

review of the Motion and the record, the Court finds that the Motion should be granted.

Accordingly, it is


                                      EXHIBIT “A”
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        ORDERED, as follows:

        1.       The Motion is GRANTED, as set forth herein.

        2.       The Court confirms that the Automatic Stay arising by reason of 11 U.S.C.

Section 362 of the Bankruptcy Code is not in effect and is terminated as to the Debtor, and as to

Movant’s interest in the following property described as:

        LOT 1, BLOCK F OF REPLAT OF PORTION OF M.P.H., ACCORDING TO
        THE PLAT THEREOF AS RECORDED IN PLAT BOOK 162, PAGE 4, OF THE
        PUBLIC RECORDS OF BROWARD COUNTY, FLORIDA. A/K/A 4951 S.W.
        128TH TERRACE, MIRAMAR, FL 33027

        3.       This relief is in rem only in order to complete state court foreclosure proceedings

through certificate of title and possession of the Property; however, Movant shall not seek any in

personam relief against the Debtor, without further order of the Court.

        4.       The Court waives the time requirements under Rule 4001(a)(3) and deems the

relief from stay effective immediately.

        5.       This Order will survive any subsequent conversion of this instant case to any

other chapter under the Bankruptcy Code.

        6.       The Court shall retain jurisdiction over this matter to consider and enter such

further relief necessary to enforce the terms and conditions of this Order.

                                                 ###
Submitted by:
Chase A. Berger, Esq.
Florida Bar No. 083794
cberger@ghidottiberger.com
GHIDOTTI ǀ BERGER, LLP
3050 Biscayne Boulevard - Suite 402, Miami, Florida 33137
Telephone: (305) 501.2808 / Facsimile: (954) 780.5578

Copies furnished to:
Chase A. Berger, Esq.
Mr. Berger shall serve a conformed copy of this order upon all interested parties and file a Certificate of Service
within three (3) days from the date of this Order.




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